             Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 1 of 23




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    In re:                                                 §
                                                           §                  Case No. 25-90138
    Geden Holdings, Ltd. 1                                 §
                                                           §                   Chapter 15
             Debtor in a Foreign Proceeding                §


     DEBTOR’S EMERGENCY MOTION FOR ENTRY OF AN ORDER (I) GRANTING
     EMERGENCY PROVISIONAL RELIEF FOR ISSUANCE OF THE AUTOMATIC
                   STAY, AND (II) FOR RELATED RELIEF

EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
LATER THAN 11:00 A.M. (PREVAILING CENTRAL TIME) ON MAY 1, 2025.
IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT
THE HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE
DATE THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH.
OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
GRANT THE RELIEF REQUESTED.
A HEARING WILL BE CONDUCTED IN THIS MATTER ON MAY 1, 2025 AT 11:00 A.M.
(PREVAILING CENTRAL TIME) IN COURTROOM 400, 4TH FLOOR, 515 RUSK
AVENUE, HOUSTON, TX 77002.
PARTICIPATION AT THE HEARING WILL ONLY BE PERMITTED BY AN AUDIO
AND VIDEO CONNECTION.
AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY.
YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE CONNECTED, YOU WILL
BE ASKED TO ENTER THE CONFERENCE ROOM NUMBER. JUDGE PEREZ
CONFERENCE ROOM NUMBER IS 282694. VIDEO COMMUNICATION WILL BE BY
USE OF THE GOTOMEETING PLATFORM. CONNECT VIA THE FREE
GOTOMEETING APPLICATION OR CLICK THE LINK ON JUDGE PEREZ’S HOME
PAGE. THE MEETING CODE IS “JUDGE PEREZ”. CLICK THE SETTINGS ICON IN
THE UPPER RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
INFORMATION SETTING.
HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
BOTH ELECTRONIC AND IN-PERSON HEARINGS. TO MAKE YOUR APPEARANCE,

1
 Geden Holdings, Ltd. was ordered to be wound up by the Maltese Court (the “Windup Order”) a copy of the Maltese
order is attached hereto as Exhibit “A.” The Liquidator’s office, Valletta Legal, is located at No. 4 St Andrews Street,
Valletta VLT 1341, Malta, and its service address in this Chapter 15 Case.
             Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 2 of 23




CLICK THE “ELECTRONIC APPEARANCE” LINK ON JUDGE PEREZ’S HOME
PAGE. SELECT THE CASE NAME, COMPLETE THE REQUIRED FIELDS AND
CLICK “SUBMIT” TO COMPLETE YOUR APPEARANCE.
           Dr. Reuben Balzan (the “Petitioner” or “Foreign Representative”),2 in his capacity as the

authorized representative and court appointed liquidator of the above-captioned debtor (the

“Debtor” or “Geden”) regarding the Debtor’s court ordered liquidation in Malta (the “Malta

Proceeding”) before the First Hall of the Civil Court (the “Maltese Court”), respectfully states as

follows in support of this motion:

                                                  Relief Requested

           1.       The Foreign Representative respectfully requests entry of an order, substantially in

the form attached hereto as (the “Order”) granting emergency provisional relief for issuance of the

automatic stay.

I.         Geneal Background

           2.       On April 28, 2025 (the “Petition Date”), the Debtor filed a voluntary chapter 15

petition for recognition of a foreign proceeding (the “Chapter 15 Case”) under chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas,

Houston Division (the “Court”).

II.        The Malta Proceeding

           3.       On June 15, 2017, the Maltese Court adjudicated Geden insolvent and ordered its

dissolution and winding up. See Windup Order, at pg 10. Additionally, the Windup Order

appointed Paul Darmanian (the “First Liquidator”) as liquidator. Id.

           4.       On September 12, 2018, the First Liquidator filed an application with the Maltese

Court to be relieved of the duties as the liquidator of Geden. On September 19, 2018, the Maltese



2
    Capitalized terms not defined herein shall have their meaning ascribed in the Declaration.


                                                            2
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 3 of 23




Court granted the First Liquidator’s application and allowed the First Liquidator to resign as the

liquidator of Geden.

         5.        On December 1, 2023, Eclipse Liquidity, Inc, (“Eclipse”), a creditor of Geden, filed

an application to appoint a new liquidator.

         6.        On December 4, 2023, the Maltese Court appointed Dr. Reuben Balzan (the

“Liquidator”) as the liquidator of Geden.

III.     The Appeals

         7.        As described more fully in the Declaration, Eclipse Liquidity, Inc. (“Eclipse”)

brought certain claims and causes of action in two different lawsuits (i.e. the 2020 Action and the

Abuse of Process Action, collectively the “Pennsylvania State Court Litigation”) against Geden,

Advantage Tankers, LLC (“Tankers”), and Award Shipping, LLC (“Award”). Among other

things, Eclipse alleges that: (i) Geden transferred a substantial number of assets to Tankers and

Award for less than reasonably equivalent value; (ii) Award and Tankers are liable to Eclipse as

successor corporations of Geden; and (iii) that Eclipse should be allowed to pierce the corporate

veils of Tankers and Award because they have committed fraud to the detriment of Geden’s

creditors.

         8.        Notably, during the pending Pennsylvania State Court Litigation, Geden was in

liquidation in Malta. Upon information and belief, despite the Pennsylvania State Court Litigation,

Geden was participating in such litigation without the authority or consent of the Maltese Court or

any court appointed liquidator despite the pending Malta Proceeding.




                                                    3
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 4 of 23




         9.        The Pennsylvania State Court ruled in favor of Tankers, Award, and Geden, 3 and

Eclipse appealed both orders from the 2020 Action and the Abuse of Process Action (collectively,

the “Appeals”).

         10.       Oral argument on the Appeals is set for May 13, 2025.

         11.       Additional information regarding the history of Geden and circumstances leading

to the commencement of this Chapter 15 Case is set forth in the Declaration of Foreign

Representative Pursuant to 11 U.S.C. § 1515 and Rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure and in Support of Verified Petition for (I) Recognition of Foreign Main

Proceeding, (II) Recognition of Foreign Representative, (III) Emergency Provisional Relief For

Issuance of the Automatic Stay, and (IV) Related Relief Under Chapter 15 of the Bankruptcy Code

(the “Declaration”), filed contemporaneously herewith and incorporated herein by reference.

                                            Jurisdiction and Venue

         12.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b). The Debtor confirms its consent, pursuant

to Bankruptcy Rule 7008, to the entry of a final order by the Court.

         13.       This Chapter 15 Case has been properly commenced pursuant to section 1504 of

the Bankruptcy Code by the filing of a petition for recognition of the Malta Proceeding under

section 1515 of the Bankruptcy Code.




3
  While the Pennsylvania State Court found in favor of Geden at the trial court level, it is unclear whether Geden’s
positions taken in the Pennsylvania State Court Litigation were potentially contrary to its obligations to liquidate for
the benefit of creditors in the Malta Proceeding.


                                                           4
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 5 of 23




         14.       Venue is proper pursuant to 28 U.S.C. § 1410(1). The Debtor’s principal assets4 in

the United States constitute a retainer held by Okin Adams Bartlett Curry, LLP in a bank account

maintained at Frost Bank in Houston, Texas.

         15.       The bases for the relief requested herein are sections 105(a), 362, 1504, 1510, 1515,

1517, and 1519, 1521(a)(7) of the Bankruptcy Code, rules 1012, 2002(m), 2002(p), 2002(q), and

9007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-4

and 9013-1(a) of the Local Bankruptcy Rules for the Southern District of Texas (the “Local

Rules”).

                                               Basis for Relief

I.       The Court Should Issue the Automatic Stay on a Provisional Basis.

         16.       Because the Appeals are set for oral argument on May 13, 2025, the Liquidator is

seeking the provisional issuance of the automatic stay to, among other things, potentially stay the

Appeals while the Liquidator continues to investigate how and under whose direction Geden has

been defending itself in Pennsylvania State Court Litigation. Without this information, it is unclear

how the Liquidator is expected to proceed in the Appeals.

         17.       The Liquidator, at this time, does not know whether he or his professionals must

appear at oral argument on behalf of Geden, and, further, is not clear on how to best proceed with

such a representation. The Liquidator faces the issue of potentially having to appear at the oral

argument of the Appeals to reserve all rights, without fully understanding the facts and

circumstances surrounding the previous representation and corporate control of Geden.

         18.       Additionally, since the Liquidator does not know who has been controlling Geden,

the Liquidator must assume that those same parties may potentially interfere with any assets Geden


4
 As described in the Declaration, the Foreign Representative suspects, but does not know, whether additional assets
of the Debtor are located in the United States.


                                                        5
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 6 of 23




may have in the United States. To the extent there are assets of Geden in the United States, the

issuance of the automatic stay will assist the Liquidator in safeguarding those assets.

         19.       Upon recognition of a foreign main proceeding, the automatic stay under section

362 of the Bankruptcy Code applies to protect debtors from, among other things, commencement

or continuation of any claims and enforcement of a judgment with respect to the debtors and

property of the debtors in the territorial jurisdiction of the United States. See 11 U.S.C. §§ 362,

1520(a). In addition to these protections, upon recognition of a foreign nonmain proceeding, a

foreign representative may request additional “appropriate relief” pursuant to section 1521(a) of

the Bankruptcy Code, including (without limitation) staying certain proceedings not already stayed

pursuant section 1520(a). See 11 U.S.C. §§ 1521(a)(1) and (2).

         20.       Although the automatic stay under section 362 is not automatically triggered by the

commencement of a chapter 15 case, section 1519(a) of the Bankruptcy Code provides the Court

with broad discretion to grant provisional relief during the gap period between the filing of a

chapter 15 petition and the Court’s ruling on that petition when it is “urgently needed to protect

the assets of the debtor or the interests of the creditors.” 11 U.S.C. § 1519(a). Specifically, section

1519(a)(1) expressly empowers the Court to issue a provisional order “staying execution against

the debtor’s assets.” 11 U.S.C. § 1519(a)(1). Additionally, section 1519(a)(3) of the Bankruptcy

Code incorporates section 1521(a)(7), which permits the Court to grant (with certain exceptions

not applicable here) “any additional relief that may be available to a trustee” when necessary to

“effectuate the purpose of [chapter 15] and to protect the assets of the debtor or the interests of the

creditors.” 11 U.S.C. §§ 1519(a)(3), 1521(a)(7).

         21.       Courts have generally held that such additional relief may include imposition of the

automatic stay on a provisional basis. Because the stay under section 362 is automatically granted




                                                    6
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 7 of 23




in a plenary proceeding, such relief is available to a foreign representative under section 1521(a)(7)

and, therefore, may be granted on a provisional basis under section 1519(a)(3). See Vitro v. ACP

Master, Ltd. (in re Vitro), 455 B.R. 571, 579 (Bankr. N.D. Tex. 2011) (finding that the “protections

afforded under §§ 362 and 105 are available … prior to recognition of the foreign main

proceeding.”); see also In re Hanjin Shipping Co., Ltd., No. 16-27041 (JKS), 2016 WL 6679487,

at *5 (Bankr. D.N.J. Sept. 20, 2016) (granting stay prohibiting the attachment of certain inchoate

lien rights and noting that courts have broad discretion in granting relief under section 1519).

         22.       Moreover, the Court may also look to section 105(a) of the Bankruptcy Code as a

separate basis for fashioning provisional relief as is necessary to protect a chapter 15 debtor and

its creditors. In short, sections 105(a), 1519(a), and 1521 allow the Court to enter relief of the kind

requested in this Motion to protect the Debtor and their its and promote judicial cooperation in

cross-border insolvency cases. See 11 U.S.C. § 1501(a).

         23.       In determining whether provisional relief is appropriate, the Court applies the

“standards, procedure, and limitations” applicable for the entry of a preliminary injunction. In re

Vitro,455 B.R. at 580; see also In re Andrade Gutierrez Engenharia S.A., 645 B.R. 175, 180-181

(Bankr. S.D.N.Y. 2022) (citing 11 U.S.C. § 1519(e); In re Beechwood, 2019 Bankr. LEXIS 2077,

at *2 (Bankr. S.D.N.Y. July 10, 2019); but see In re Pro-Fit Holdings Ltd., 391 B.R. 850, 855

(Bankr. C.D. Cal. 2008) (holding that the standards, procedures, and limitations for issuing an

injunction should not apply to relief under section 1519 when the relief sought is the imposition

of the automatic stay on an interim basis)). Additionally, “[t]he foreign representative is not

required to commence an adversary proceeding to seek [the automatic stay]. Engenharia, 645

B.R. at 184.




                                                  7
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 8 of 23




         24.       In the context of a chapter 15 proceeding, a preliminary injunction is warranted

when (i) there is a likelihood of success on the merits (i.e., the request for foreign recognition); (ii)

there is “an imminent irreparable harm” to the debtor if the preliminary injunction is not issued;

(iii) the balance of harms tips in favor of the moving party; and (iv) the public interest weighs in

favor of an injunction. Vitro, 455 B.R. at 580; Lyondell Chem. Co. v. Centerpoint Energy Gas

Servs. (In re Lyondell Chem. Co.), 402 B.R. 571, 588-89 (Bankr. S.D.N.Y. 2009).

         a.        There is a Likelihood of Success on the Merits.

         25.       The Liquidator asserts that he satisfies the “likelihood of success” factor because

he meets the requirements of 11 U.S.C. § 1517 for mandatory foreign recognition of the Malta

Proceeding.5

         26.       Section 1517(a) of the Bankruptcy Code provides that, after notice and hearing, a

court shall enter an order recognizing a foreign proceeding as a foreign main (or nonmain)

proceeding if “(a) such foreign proceeding is a foreign main (or nonmain) proceeding within the

meaning of section 1502 of the Bankruptcy Code, (b) the foreign representative applying for

recognition is a person or body, and (c) the petition meets the requirements of section 1515 of the

Bankruptcy Code.” 11 U.S.C. § 1517(a) (emphasis added). Section 1517(a)(1) consists of two

separate inquires. The first question is whether the Malta Proceeding is a “foreign proceeding” as

that term is defined under the Bankruptcy Code. The second question is whether the foreign

proceeding is a foreign main or foreign nonmain proceeding.

         27.       As explained below, the Malta Proceeding, the Foreign Representative, and the

Petition satisfy all of the foregoing requirements.


5
 The Declaration and Geden’s Verified Petition for (I) Recognition of Foreign Main Proceeding, (II) Recognition of
Foreign Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code (the “Verified Petition”),
also provide a detailed analysis explaining why the Liquidator meets the requirements for recognition of the Malta
Proceeding.


                                                        8
4919-7334-7387, v. 4
           Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 9 of 23




                   i.         The Debtor is Eligible for Chapter 15 Relief

         28.       As a preliminary matter, bankruptcy courts must first analyze whether the debtor is

eligible to be a debtor under Chapter 15 of the Bankruptcy Code. For the purposes of chapter 15

of the Bankruptcy Code, a “debtor” means an entity that is the subject of a foreign proceeding. See

11 U.S.C. § 1502(1); see also 11 U.S.C. § 101(15), (41) (defining “entity” and “person”).

         29.       Geden is a corporation organized under the laws of Malta and is an “entity” as that

term is defined in the Bankruptcy Code. Moreover, the Debtor does not fall within any of the

categories of entities excluded from chapter 15 eligibility, as set forth in section 1501(c).

Accordingly, the Debtor is eligible for relief under chapter 15 of the Bankruptcy Code. See 11

U.S.C. § 1501(b), (c).

                        ii.       The Malta Proceeding is a Foreign Proceeding

         30.       The Malta Proceeding is a foreign proceeding within the meaning of 11 U.S.C. §

101(23). Section 101(23) of the Bankruptcy Code defines a “foreign proceeding” as “a collective

judicial or administrative proceeding in a foreign country, including an interim proceeding, under

a law relating to insolvency or adjustment of debt in which proceeding the assets and affairs of the

debtor are subject to control or supervision by a foreign court, for the purpose of reorganization or

liquidation.” 11 U.S.C. § 101(23).

         31.       Courts have held that a “foreign proceeding” is:

                   a. A proceeding;

                   b. That has either a judicial or an administrative character;

                   c. That is collective in nature, in the sense that the proceeding considers
                      the rights and obligations of all creditors;

                   d. That is located in a foreign country;




                                                      9
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 10 of 23




                   e. That is authorized or conducted under a law related to insolvency or the
                      adjustment of debt, even if the debtor that has commenced such
                      proceedings is not actually insolvent;

                   f. In which the debtor’s assets and affairs are subject to the control or
                      supervision of a foreign court or other authority competent to control or
                      supervise a foreign proceeding; and

                   g. Which proceeding is for the purpose of reorganization or liquidation.

See In re Ashapura Minechem Ltd., 480 B.R. 129, 136 (S.D.N.Y. 2012) (citing In re Betcorp Ltd.,

400 B.R. 266, 277 (Bankr. D. Nev. 2009)); see also In re ABC Learning Ctrs. Ltd., 728 F.3d 301,

308 (3d Cir. 2013) (listing the seven factors); In re Oversight & Control Comm’n of Avánzit, S.A.,

385 B.R. 525, 533 (Bankr. S.D.N.Y. 2008) (discussing factors). As set forth in the Declaration,

the Malta Proceeding satisfies such requirements and, therefore, qualifies as a “foreign

proceeding” for purposes of section 101(23) of the Bankruptcy Code.

         32.       First, the Malta Proceeding is a proceeding commenced pursuant to Regulations

[99-163] of the Merchant Shipping (Shipping Companies – Private Organisations), Regulations,

2004 (the “Regulations”), the Maltese law that governs the liquidation of shipping companies. For

purposes of chapter 15 recognition, “the hallmark of a ‘proceeding’ is a statutory framework that

constrains a company’s actions and that regulates the final distribution of a company’s assets.”

Betcorp, 400 B.R. at 278.

         33.       As described in more detail in the Declaration, Malta’s liquidation proceedings are

governed by a statutory framework that constrains Geden’s actions and that regulates final

distribution of Geden’s assets. Below are key provisions of the Regulations that not only

demonstrate that the Malta Proceeding is “governed by a statutory framework”, but also is similar

to provisions of Chapter 7 of the Bankruptcy Code.




                                                   10
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 11 of 23




         ➢         Under Regulation 105(2), after a winding up order has been entered, Geden
                   is deemed to have been dissolved as of the date the wind up application was
                   filed. See Regulations, at § 105(2).

         ➢         Upon “appointment of a liquidator, all the powers of the directors and of the
                   company secretary shall cease, expect as may be otherwise provided in this
                   Title.” Regulations, at § 295.

         ➢         The liquidator is appointed to act on behalf of the “winding up” company
                   to “take into his custody or under his control all the property and all rights
                   to which he has reasonable cause to believe the company to be entitled.”
                   Regulations, at § 109.

         34.       Additionally, under Maltese law, the liquidator shall have the power:

         a.        to bring or to defend any action or other legal proceeding in the name and
                   on behalf of the company;

         b.        to carry on the business of the company so far as may be necessary for the
                   beneficial winding up thereof;

         c.        to pay creditors according to their ranking at law;

         d.        to make any compromise or arrangement with creditors or persons claiming
                   to be creditors, or having or alleging themselves to have any claim, present
                   or future, certain or contingent, ascertained or which may be due in damages
                   against the company or whereby the company may be rendered liable, and
                   to refer such matter to arbitration;

         e.        to represent the company in all matters and to do all such things as may be
                   necessary for winding up the affairs of the company and distributing its
                   assets.

         Regulations, at § 109.

         35.       Because the Malta Proceeding operates under such statutory framework, it satisfies

the first factor of section 101(23) of the Bankruptcy Code.

         36.       Second, the Malta Proceeding is judicial in character. A reorganization/liquidation

proceeding is judicial in character whenever a “court exercises its supervisory powers.” In re ABC

Learning Ctrs. Ltd., 445 B.R. 318, 328 (Bankr. D. Del. 2010). In the Malta Proceeding, the actions

of the Liquidator “shall be subject to the control of the court, and any interested person may apply



                                                    11
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 12 of 23




to the court with respect to any exercise or proposed exercise of any of those powers.” Regulations,

at § 110(3). Accordingly, the Malta Proceeding is judicial in character.

         37.       Third, the Malta Proceeding is collective in nature in that all affected creditors are

allowed to participate. In Betcorp, for instance, the bankruptcy court discussed the contrasts

between a true collective proceeding, where such proceeding “considers the rights and obligations

of all creditors” and a non-collective proceeding, such as a “receivership remedy instigated at the

request, and for the benefit, of a single secured creditor.” See 400 B.R. at 281; see also In re

Poymanov, 571 B.R. 24, 33 (Bankr. S.D.N.Y. 2017) (“A proceeding is collective if it considers

the rights and obligations of all of a debtor’s creditors, rather than a single creditor.”). The Malta

Proceeding is intended to address creditor interests collectively, rather than to benefit any single

creditor alone. The Liquidator is specifically tasked with investigating and bringing claims and

causes of action on behalf of Geden and distributing assets pro rata among Geden’s creditors.

Regulations, at § 110. Accordingly, the Malta Proceeding considers the rights and obligations of

all Geden’s creditors collectively rather than any single creditor.

         38.       Fourth, the Malta Proceeding is conducted in a foreign country, namely Malta,

and the Maltese Court overseeing the Malta Proceeding is in Valleta, Malta.

         39.       Fifth, as described above, a “foreign proceeding” is “a law relating to insolvency

or adjustment of debt.” Here, the Malta Proceeding conducted under Malta Law is liquidation and,

thus, “a law relating to insolvency.” Specifically, Geden has been adjudicated insolvent and

ordered to liquidate under Maltese law. Further the Liquidator, among other things, is tasked with

liquidating Geden and “pay[ing] creditors according to their ranking at law.” Regulations, at §

110(1)(c).




                                                    12
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 13 of 23




         40.       Sixth, the Malta Proceeding subjects Geden’s assets and affairs to the supervision

of the Malta Court for the duration of the proceeding. Regulation 110(3) of the Regulations

provides that “[t]he exercise by the liquidator in a winding up by the court of the powers conferred

by this regulation shall be subject to the control of the court, and any interested person may apply

to the court with respect to any exercise or proposed exercise of any of those powers.” Regulations,

at § 110(3).

         41.       Finally, the objective of the Malta Proceeding is the liquidation of Geden. See

Regulations, at § 109. The principal objective of the Malta Proceeding is to facilitate an orderly

liquidation of a business through the actions of the Liquidator. Therefore, the Liquidator submits

that the Debtor has commenced the Malta Proceeding for the purpose of reorganization, as required

by section 101(23) of the Bankruptcy Code.

                        iii.    The Malta Proceeding is Either a Foreign Main Proceeding or
                                a Foreign Nonmain Proceeding

         42.       Section 1517(a) states that for a debtor to meet the foreign recognition factors, the

debtor must demonstrate that the foreign proceeding is either a foreign main or foreign nonmain

proceeding. Here, the Liquidator asserts that the Malta Proceeding meets the requirements to be

considered a foreign main proceeding but argues in the alternative that the Malta Proceeding could

be considered a foreign nonmain proceeding.

         43.       A foreign proceeding must be recognized as a foreign main proceeding if it is

pending in the country where the debtor has its “center of its main interests.” 11 U.S.C. § 1517(b).

The term “center of main interests” (or “COMI”) is not defined in the Bankruptcy Code. COMI,

however, has been equated to a debtor’s principal place of business. See In re Bear Stearns High-

Grade Structured Credit Strategies Master Fund, Ltd., 374 B.R. 122, 129 (Bankr. S.D.N.Y. 2007),

aff’d, 389 B.R. 325 (S.D.N.Y. 2008) (citing In re Tri- Continental Exchange Ltd., 349 B.R. 627,



                                                    13
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 14 of 23




633–34 (E.D. Calif. 2006)). Courts have identified certain factors that are relevant in determining

a debtor’s COMI, including: (i) the location of the debtor’s headquarters; (ii) the location of those

persons or entities that actually manage the debtor (which, in certain instances, could be the

headquarters of a holding company); (iii) the location of the debtor’s primary assets; and (iv) the

location of the majority of the debtor’s creditors or of a majority of the creditors who would be

affected by the case. See Lavie v. Ran (In re Ran), 607 F.3d 1017, 1023 (5th Cir. 2010) (citing In

re SPhinX, Ltd., 351 B.R. 103, 117 (Bankr. S.D.N.Y. 2006)). Additionally, courts have found that

a sufficient basis for finding that the a debtor’s COMI for the purposes of recognition as a main

proceeding is to analyze where the original liquidation was filed and for the duration of such

liquidation where the business of liquidation was conducted. See Morning Mist Holdings Ltd. v.

Krys (In re Fairfield Sentry Ltd.), 714 F.3d 127, 133 (2d Cir. 2013).

         44.       Further, in the absence of evidence to the contrary, a debtor’s registered office is

presumed to be the debtor’s COMI. See 11 U.S.C. § 1516(c).

         45.       Here, under all the relevant criteria, Malta is Geden’s COMI. As set forth in the

Declaration, Geden was registered as a corporation in Malta. The application brought by Samsung

was adjudicated in Malta. The Maltese Court is presently overseeing the liquidation of Geden.

The Liquidator, the sole person in control of Geden, resides in Malta. Additionally, section

1516(c) of the Bankruptcy Code provides that “ [i]n the absence of evidence to the contrary, the

debtor’s registered office, or habitual residence in the case of an individual, is presumed to be the

center of the debtor’s main interests.” 11 U.S.C. § 1516(c). Accordingly, the Liquidator asserts

that Malta is the “COMI” of Geden.




                                                    14
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 15 of 23




         46.       In the alternative, if this Court concludes that the Malta Proceeding is not a foreign

main proceeding, the Malta Proceeding should be recognized as a foreign nonmain proceeding

under section 1502(5) of the Bankruptcy Code.

         47.       A “foreign nonmain proceeding” is defined as “a foreign proceeding, other than a

foreign main proceeding, pending in a country where the debtor has an establishment.” See 11

U.S.C. § 1502(5); see also 11 U.S.C. § 1517(b)(2) (providing that an order of recognition as a

foreign nonmain proceeding shall be entered “if the debtor has an establishment within the

meaning of section 1502 in the foreign country where the proceeding is pending”). An

establishment is “any place of operations where the debtor carries out a nontransitory economic

activity.” 11 U.S.C. § 1502(2). “Nontransitory economic activity” is not defined in the Bankruptcy

Code, but has been referred to as ‘a local place of business.’” See In re Creative Fin. Ltd., 543

B.R. 498, 520 (Bankr. S.D.N.Y 2016) (holding that in order to have an establishment in a country

a debtor must “conduct business in that country.”); see also Lavie v. Ran, 607 F.3d 1017, 1027

(5th Cir. 2010) (holding that the definition of establishment requires “a place from which economic

activities are exercised on the market (i.e. externally), whether the said activities are commercial,

industrial or professional.”); In re Bear Stearns High-Grade Structured Credit Strategies Master

Fund, Ltd., 374 B.R. 122, 131 (Bankr. S.D.N.Y 2007) (holding that the requirements of a “place

of operations” from which “economic activity” is conducted requires a seat for local business

activity that has a local effect on the markets); In re British Am. Ins. Co., 425 B.R. 884, 915 (Bankr.

S.D. Fla. 2010) (holding same). As with determining a debtor’s COMI, courts determine whether

a debtor has an establishment in a country as of the time of the filing of the chapter 15 petition.

See Lavie v. Ran (In re Ran), 406 B.R. 277, 284–85 (S.D. Tex. 2009).




                                                    15
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 16 of 23




         48.       As described above, Geden is in liquidation in Malta and the Liquidator, who

controls all facets of Geden, is located in Malta. Moreover, major decisions in the Malta

Proceeding must be approved by the Maltese Court. See Regulations, at §§ 110(3), 111(3). Given

the material and substantive activities conducted by the Liquidator in Malta, Geden demonstrably

has a local and non-transitory place of business, and hence, an establishment, in Malta.

         49.       Accordingly, the Liquidator asserts that the Maltese Proceeding is a “foreign

proceeding” and that Geden’s “COMI” is in Malta satisfying section 1517(a) of the Bankruptcy

Code. Even if the Court were to find that the Malta Proceeding is a nonmain proceeding, the relief

requested may still be granted.

                   iv.     The Chapter 15 Case Has Been Commenced by a Duly Authorized
                           Foreign Representative.

         50.       The second statutory factor bankruptcy courts analyze to determine whether a

foreign proceeding shall be recognized is to establish whether the foreign representative is a

“person or body” See 11 U.S.C. §1517(a)(2). Section 1517(a)(2) of the Bankruptcy Code provides

that a foreign representative shall apply for recognition of the foreign proceeding. Section 101(24)

of the Bankruptcy Code defines “foreign representative”:

         The term “foreign representative” means a person or body, including a person or
         body appointed on an interim basis, authorized in a foreign proceeding to
         administer the reorganization or the liquidation of the debtor’s assets or affairs or
         to act as a representative of such foreign proceeding.

         11 U.S.C. § 101(24).

         51.       The Foreign Representative is a “person” under section 101(41) of the Bankruptcy

Code. Moreover, the Maltese Court not only appointed the Liquidator, but the Liquidator

submitted an application to the Maltese Court specifically for authorization to file this Chapter 15

Case. A copy of the Maltese Court order ordering the Liquidator’s appointment is attached hereto




                                                  16
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 17 of 23




as Exhibit “B.” The Maltese Court granted the application allowing the Liquidator to file this

Chapter 15 Case. A copy of the Maltese Court order (the “Chapter 15 Proceeding Order”)

authorizing the Liquidator to proceed in the United States is attached hereto as Exhibit “C.”

                   v.       The Petition Satisfies the Requirements of Section 1515 of the
                            Bankruptcy Code
         52.       Lastly, the Liquidator meets the 1517(a)(3) requirement by meeting the

requirements listed in section 1515 of the Bankruptcy Code. First, the Liquidator initiated this

Chapter 15 Case by filing a Chapter 15 Petition thereby meeting the 1515(a) requirement that a

petition for recognition be filed. See 11 U.S.C. § 1515(a).

         53.       Pursuant to section 1515(b) of the Bankruptcy Code, a petition for recognition must

be accompanied by one of the following:

                   a.       a certified copy of the decision commencing such foreign
                            proceeding and appointing the foreign representative;

                       b.    a certificate from the foreign court affirming the existence of such
                            foreign proceeding and of the appointment of the foreign
                            representative; or

                   c.       in the absence of evidence referred to in paragraphs (a) and (b), any
                            other evidence acceptable to the court of the existence of such
                            foreign proceeding and of the appointment of the foreign
                            representative.

         11 U.S.C. § 1515(b).

         54.       In satisfaction of section 1515(a), the Windup Order, the Balzan Appointment

Order and the Chapter 15 Proceeding Order are attached as Exhibits A, B, and C, respectively.

Additionally, the Declaration describes both the commencement of the Malta Proceeding and the

Liquidator’s appointment as the liquidator of Geden. This description in the Declaration may

independently satisfy section 1515(b)(3) of the Bankruptcy Code. See In re ABC Learning Ctrs.

Ltd., 445 B.R. 318, 334 (Bankr. D. Del. 2010) (holding that declaration of petitioner “is acceptable



                                                     17
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 18 of 23




evidence under § 1515(b)(3) of the existence of the foreign proceeding and the appointment of the

[f]oreign[r]epresentatives.”), aff’d, 728 F.3d 301 (3d Cir. 2013).

         55.       Therefore, the Liquidator meets the requirements of section 1515 of the Bankruptcy

Code in satisfaction of the third requirement under section 1517(a) of the Bankruptcy Code.

         56.       Because the Petition satisfies section 1517 of the Bankruptcy Code, there is a

reasonable likelihood that the Court will recognize the Malta Proceeding in this Chapter 15 Case.

Moreover, granting recognition will promote the United States’ public policy of respecting foreign

proceedings as articulated in, inter alia, sections 1501(a) and 1508 of the Bankruptcy Code and

furthering cooperation between courts to the maximum extent possible as mandated by section

1525(a) of the Bankruptcy Code. Thus, these circumstances satisfy the conditions for mandatory

recognition of the Malta Proceeding under section 1517 of the Bankruptcy Code.

         b.        There is “An Imminent Irreparable Harm” to the Debtor if the Preliminary
                   Injunction is not Issued

         57.       In the cross-border insolvency context, courts have recognized that irreparable

harm exists when local actions could hinder the orderly process of a foreign proceeding and the

goal of fair distribution of assets. See Garcia Avila, 296 B.R. 95, 114 (Bankr. S.D.N.Y. 2003)

(stating that “[a]s a rule, therefore, irreparable harm exists whenever local creditors of the foreign

debtor seek to collect their claims or obtain preferred positions to the detriment of the other

creditors”); see also In re Berau Capital Res. PTE Ltd., No. 15-11804 (MG) (Bankr. S.D.N.Y.

Aug. 6, 2015) (ECF Doc. # 20, at 3) (granting provisional relief recognizing the risks of, among

other things, interference with the foreign debtor's “efforts to administer its estate and restructure

its operations pursuant to the [f]oreign [p]roceeding” and “undermining the [f]oreign

[r]epresentative's efforts to achieve an equitable result for the benefit of all of the [f]oreign

[d]ebtor's creditors and interest holders” in the absence of the requested relief.).



                                                   18
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 19 of 23




         58.       Here, the Liquidator (and the Maltese Court) is in the perplexing position of having

not been aware of the Pennsylvania State Court Litigation, and the actions taken by Geden to

defend itself. Moreover, while the Pennsylvania State Court Litigation was prosecuted by Eclipse,

it is unclear whether Geden was also an appropriate party to bring those claims.

         59.       As described fully in the Declaration, the Liquidator has significant questions as to

who has been controlling Geden since 2017. Under Maltese law, the now former owners, officers,

directors, and management ceased having control of Geden; however, Geden was defending itself

in the Pennsylvania State Court Litigation without the knowledge of the Maltese Court or any court

appointed liquidator. Concerningly, Geden may have taken positions contrary to the stated purpose

of the Malta Proceeding and may have impacted recoveries to Geden’s creditors. The Liquidator

has not had a full opportunity to analyze the numerous issues that may arise if the Appeals are

allowed to go forward. Put simply, the Liquidator does not know the extent that Geden’s conduct

in the Pennsylvania State Court Litigation has affected the Malta Proceeding and any distribution

to creditors.

         60.       Additionally, Geden is an appellee in the Appeals, but at this point without further

information, it is exceedingly difficult for the Liquidator to prepare to defend (or not defend) the

Appeal without a deeper understanding of the facts and circumstances surrounding the corporate

control of Geden up to this point.

         61.       Accordingly, the Liquidator asserts imposing the automatic stay may give the

Liquidator time to determine and understand all of the issues related to the Appeals and Geden’s

conduct in the United States. Without a full understanding of the issues surrounding Geden’s

involvement in the Pennsylvania State Court Litigation, Geden may be irreparably harmed and

may be limited in its efforts to collect assets for distribution in the Malta Proceeding.




                                                    19
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 20 of 23




         c.        The Balance of Harms Tips in Favor of the Moving Party

         62.       The balance of harm tips in favor of the Liquidator. The stay will merely preserve

the status quo on a temporary basis pending a determination by this Court of whether the Malta

Proceeding should be recognized. As stated above, without allowing the Liquidator an opportunity

to inquire as to the actions taken by Geden before oral argument on the Appeals, it may ultimately

hurt any recovery to Geden’s creditors and inhibit the success of the Malta Proceeding. Award

and Tankers will not be harmed by imposing the automatic stay.

         d.        The Public Interest Weighs in Favor of an Injunction.

         63.       Because granting the relief requested is consistent with the policy goals of chapter

15 by avoiding individual creditor actions, dissipation of Geden’s estate, and the resulting

inequitable distribution of property among creditors, the public interest also favors granting the

relief sought herein. See Cunard S.S. Co. v. Salen Reefer Servs. AB, 773 F.2d 452, 459 (2d Cir.

1985) (noting in a case under former section 304 of the Bankruptcy Code the strong “public interest

in the fair and efficient distribution of assets in a bankruptcy”). Moreover, the relief requested

promotes the purposes of chapter 15, including: (a) the “fair and efficient administration of cross-

border insolvencies that protects the interests of all creditors, and other interested parties, including

the debtor”; (b) “protection and maximization of the value of a debtor’s assets”; (c) “facilitation

of the rescue of financially troubled businesses, thereby protecting investments and preserving

employment”; and (d) promotion of cooperation between the courts in the United States and in

foreign jurisdictions involved in cross-border insolvency cases. 11 U.S.C. §§ 1501(a), 1525.

         64.       Here, granting a preliminary injunction is also in the public interest. The public goal

of chapter 15 is the “fair and efficient administration of cross-border insolvencies that protects the

interests of all creditors.” 11 U.S.C. § 1501(a)(3).




                                                     20
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 21 of 23




         65.       Issuing the automatic stay on a provisional basis will ensure that the Liquidator has

time to understand how, who, and why Geden took the positions it did in the Pennsylvania State

Court Litigation without the express authorization of the Liquidator. This will assist the Maltese

Court and the Liquidator in effectuating a successful liquidation.

         66.       In addition, section 1522 of the Bankruptcy Code states that “relief can be granted,

modified or terminated under section 1519, as the case may be, only if the interests of creditors

and other interested parties are sufficiently protected.” Id. (quoting 1 COLLIER ON

BANKRUPTCY ¶ 13.06 (16th ed. 2022)).

         67.       Here, the risk of harm to Tankers and Award that the Appeals go forward is minimal

and their rights are sufficiently protected. The 2020 Action has been pending for over four (4)

years and the Appeals have been pending since October of 2024. Issuing the automatic stay will

merely seek to preserve the status quo and not limit the rights of the Liquidator before he has had

a chance to conduct a more thorough investigation. Additionally, Tankers and Award may still

seek to lift the automatic stay in the interim before the full hearing on foreign recognition.

         e.        No Security is Required

         68.       Security is not required for the provisional relief requested in accordance with the

Bankruptcy Rules. See Bank. R. 7065 (“[A] temporary restraining order or preliminary injunction

may be issued on application of a debtor, trustee, or debtor in possession without compliance with

Rule 65(c)[’s requirement to give security]”). In any event, requiring security would be

unwarranted in the present circumstances as Geden’s primary assets are under the jurisdiction of

the Maltese Court and the requested relief would last only until this Court’s ruling on the Motion

for Recognition. See 11 U.S.C. § 1520(a)(1).




                                                    21
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 22 of 23




                                      Basis for Emergency Relief

         69.       Pursuant to Local Rule 9013-1(i), the Foreign Representative respectfully requests

emergency consideration of this Motion. Section 1519 of the Bankruptcy Code contemplates that

a “court may, at the request of the foreign representative, where relief is urgently needed to protect

the assets of the debtor or the interests of the creditors, grant relief of a provisional nature . . .”

11 U.S.C. § 1519(a). The relief requested in this Motion must be entered on an emergency basis

if the automatic stay is to assist the Liquidator in staying the Appeals. Accordingly, emergency

relief is warranted.

                                                   Notice

         70.       The Foreign Representative will provide notice of this Petition to: (a) the Office of

the Untied States Trustee for the Southern District of Texas; (b) counsel to Eclipse Liquidity, Inc.,

(c) Samsung C&T Deutsshland Gmbh, (d) counsel to Advantage Tankers, LLC and Award

Shipping, LLC, (e) Gulsun Nazli Karamehmet-Williams and Courtney Williams (f) all persons

authorized to administer the foreign proceeding of Geden, (g) all parties to litigation pending in

the United States in which Geden is a party as of the Petition Date; (h) such other entities as this

Court may direct. In light of the nature of the relief requested, the Foreign Representative submits

that no further notice is required at this time.

         WHEREFORE, the Foreign Representative respectfully requests that the Court enter the

proposed order, substantially in the form attached hereto, and extend the automatic stay on a

provisional basis.




                                                    22
4919-7334-7387, v. 4
          Case 25-90138 Document 4 Filed in TXSB on 04/29/25 Page 23 of 23




                                       Respectfully submitted,

                                       OKIN ADAMS BARTLETT CURRY LLP

                                       By:     /s/ Matthew S. Okin
                                              Matthew S. Okin
                                              Texas Bar No. 00784695
                                              mokin@okinadams.com
                                              Edward A. Clarkson
                                              Texas Bar No. 24059118
                                              eclarkson@okinadams.com
                                              Kelley K. Edwards
                                              Texas Bar No. 24129017
                                              kedwards@okinadams.com
                                              1113 Vine St., Suite 240
                                              Houston, Texas 77002
                                              Tel: 713.228.4100
                                              Fax: 346.247.7158

                                       ATTORNEYS FOR THE FOREIGN
                                       REPRESENTATIVE




                                         23
4919-7334-7387, v. 4
